      Dated: 1/22/2019

          IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                   MIDDLE DISTRICT OF TENNESSEE


IN RE:                                       )   CASE NO. 317-03699
                                             )
                                             )   CHAPTER 13
HOWARD WAYNE FINCH,                          )
                                             )
                                             )
            Debtor,                          )   JUDGE MARIAN F. HARRISON
                                             )
                                             )
HOWARD WAYNE FINCH,                          )
                                             )
            Plaintiff,                       )
                                             )
vs.                                          )   ADV. NO. 3:18-ap-90082
                                             )
NATIONSTAR MORTGAGE LLC,                     )
CENTEX HOME EQUITY LOAN                      )
TRUST 2002-A,                                )
                                             )
            Defendants.                      )

                                   PRETRIAL ORDER

            At the pretrial conference held in Nashville, Tennessee, on January 9, 2019,

the following counsel appeared:

            Keith D. Slocum, Attorney for Plaintiff.

            Bret Jacob Chaness, Attorney for Defendants.

                                       PLEADINGS

            No further pleadings will be filed in this matter except with leave of Court.



                                            1



Case 3:18-ap-90082       Doc 27   Filed 01/23/19 Entered 01/23/19 08:45:51      Desc Main
                                  Document     Page 1 of 6
                             STATEMENT OF THE ISSUES

            1.      Whether the Defendant’s claim should be allowed?

            2.      Whether the Defendant has violated Rule 3002.1, and if so, what is the

                 appropriate remedy?

            3.      Whether the Defendant has committed fraud, and if so, what is the

                 appropriate remedy?

            4.      Whether the Defendant breached the contract between the parties, and

                 if so, what is the appropriate remedy?

            5.      Whether the Defendant should be held in contempt and sanctioned

                 under 11 U.S.C.§ 105?

                                  FINAL DISPOSITION

            All parties consent to final disposition of this adversary proceeding by the

bankruptcy court.

                                 INITIAL DISCLOSURES

            Fed. R. Civ. Proc. 26 disclosures will be managed by agreement by the

parties.

                                       DISCOVERY

            The parties are directed to conduct discovery so that all discovery will be

completed not later than June 11, 2019. Discovery which would require a later due date




                                              2



Case 3:18-ap-90082      Doc 27    Filed 01/23/19 Entered 01/23/19 08:45:51       Desc Main
                                  Document     Page 2 of 6
shall be permitted only on an order of court or by filed stipulation of the parties, and only

if the trial will not be delayed.

                                         MOTIONS

             Centex Home Equity Loan Trust 2002-A and Nationstar Mortgage LLC’s

motion to dismiss will be heard on April 9, 2019 at 9:30 a.m. in Courtroom Three, 2nd

Floor, Customs House, 701 Broadway, Nashville, Tennessee. Response to

Defendants’s motion to dismiss shall be filed on or before March 19, 2019. Further

responses shall be filed on or before March 27, 2019.

             Any remaining pretrial motions involving issues that may need to be

addressed before or at the beginning of the trial shall be filed with the Court no later than

seven (7) days prior to the commencement of trial.

                                        WITNESSES

             The names of witnesses, their addresses and a brief summary of the area of

testimony of each witness shall be furnished to opposing counsel immediately upon

discovery, but in no event later than seven (7) days prior to the trial date. The length of

time required for giving notice of taking of depositions as to any witness not disclosed

until five days before trial shall be reduced if the usual time cannot be given because of

the imminence of trial.




                                              3



Case 3:18-ap-90082        Doc 27    Filed 01/23/19 Entered 01/23/19 08:45:51       Desc Main
                                    Document     Page 3 of 6
             Inability to require the attendance of a witness at trial shall not be the basis

for a motion for continuance of the trial unless a written subpoena has been issued at least

seven (7) days prior to the trial date.

                                          EXHIBITS

             By close of business on June 21, 2019, the parties shall:

             1.    Pre-mark all exhibits, with the plaintiff using numbers beginning with

                   1001 and the defendant using numbers beginning with 2001.

             2.    Exchange copies of pre-marked exhibits and make available for

                   inspection, upon request, the originals thereof.

             3.    File and exchange exhibit lists.

             4.    Deliver three copies of the exhibits and exhibit list to Carol Merritt,

                   Courtroom Deputy.

                               ELECTRONIC EVIDENCE

             The parties shall comply with the Electronic Evidence Procedures (“EEP”)

for the electronic submission of evidence using the Electronic Evidence Submission

Application (“EESA”) accessible through the Electronic Case Filing system (“ECF”).

The parties are responsible for accessing and presenting electronic evidence in the

courtroom.




                                              4



Case 3:18-ap-90082      Doc 27    Filed 01/23/19 Entered 01/23/19 08:45:51          Desc Main
                                  Document     Page 4 of 6
                                     STIPULATIONS

             The parties will confer and file with the Court by close of business on June

21, 2019, detailed stipulations of fact and stipulations concerning the authenticity and

admissibility of documents and exhibits.

                                   PRETRIAL BRIEFS

             Pretrial briefs discussing applicable law shall be filed by close of business

on June 21, 2019.

                                       TRIAL DATE

             Trial will commence on June 27, 2019 at 9:00 a.m. in Courtroom Three,

2nd Floor, Customs House, 701 Broadway, Nashville, Tennessee.

                      ALTERNATIVE DISPUTE RESOLUTION

             Mediation by an ADR neutral will be scheduled upon request by any party.

                           EFFECT OF PRETRIAL ORDER

             This action shall proceed to trial pursuant to the stipulations of the parties

and this order and no amendments shall be made to this order except upon written motion

and for good cause shown. Failure to comply with requirements of this order may

result in dismissal of the action, default, assessment of costs including attorney’s fees,

or other penalties.



             IT IS SO ORDERED.


                                              5



Case 3:18-ap-90082     Doc 27    Filed 01/23/19 Entered 01/23/19 08:45:51           Desc Main
                                 Document     Page 5 of 6
       THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS
               INDICATED AT THE TOP OF THE FIRST PAGE.




                                        6
                                                         This Order has been electronically
                                                         signed. The Judge's signature and
                                                         Court's seal appear at the top of the
                                                         first page.
                                                         United States Bankruptcy Court.

Case 3:18-ap-90082   Doc 27   Filed 01/23/19 Entered 01/23/19 08:45:51          Desc Main
                              Document     Page 6 of 6
